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Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 2 of 25 PageID #:2
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 3 of 25 PageID #:3
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 4 of 25 PageID #:4
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 5 of 25 PageID #:5
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 6 of 25 PageID #:6
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Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 10 of 25 PageID #:10
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Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 23 of 25 PageID #:23
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 24 of 25 PageID #:24
Case: 1:19-cr-00567 Document #: 1 Filed: 07/11/19 Page 25 of 25 PageID #:25
